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                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF CALIFORNIA

                                  MEMORANDUM


Honorable Garland E. Burrell, Jr.
United States District Judge
Sacramento, California

                                          RE:     Cortney DOZIER
                                                  Docket Number: 2:97CR00171-008
                                                  RESPONSE TO EARLY TERMINATION
                                                  REQUEST

Your Honor:

The following is in response to a notice of early termination received from the above
named offender. In the motion, the offender is requesting the Court consider his request
for early termination and terminate his supervised release forthwith.

On October 23, 1998, the offender was sentenced to 108 months with the Bureau of
Prisons followed by a five year term of supervised release for a violation of 21 USC
841(a)(1) - Manufacture of Methamphetamine. Prior to the instant offense, the offender's
criminal conduct included a 1987 conviction for Reckless Driving and a 1989 conviction for
Transportation/Sell of a Controlled Substance where he ultimately went to state prison for
three years. While the offender was out on bail, just prior to the 1989 conviction, he was
arrested again for Driving Under the Influence and Possession of Methamphetamine. This
case was dismissed in light of the 1989 conviction.

On February 4, 2005, the offender was released from the Bureau of Prisons and began
his five year term of supervised release. He released to his parents' home in Loma Rica,
California, and immediately went to work in the family business called Performance Auto.
His family has owned and operated this business for numerous years. The offender
assists his father in all operations of the store which includes additional services provided
to the local race car industry.

The offender has successfully completed drug testing and drug treatment. He has been
allowed to travel out of the district to attend workshops on performance racing and has
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done so without incident. He has remained in compliance with all other terms and
conditions of his supervision.

On October 30, 2002, the Administrative Office of the United States Courts issued the new
criteria for assessing early termination of supervision. Pursuant to 18 USC 3564(c) and
3583(e)(1), the courts are permitted to terminate probation in misdemeanor cases at any
time and to terminate supervised release or probation in felony cases after one year, if
such action is warranted. There is nothing in the National Supervision Policies to
encourage officers to assess the suitability of offenders for early termination as soon as
they are statutorily eligible. The general criteria for assessing whether a statutorily eligible
offender should be recommended to the court as an appropriate candidate for early
termination are as follows: 1) Stable community reintegration; 2) Progressive strides
towards supervision objectives and in compliance with all conditions of supervision; 3) No
aggravated role in the offense; 4) No history of violence; 5) No recent arrests or convictions
or ongoing interrupted patterns of criminal conduct; 6) No recent evidence of alcohol or
drug abuse; 7) No recent psychiatric episodes; 8) No identifiable risks to the safety of any
identifiable victim; and 9) No identifiable risks to public safety based on the risks prediction
index.

The offender has completed approximately 41 months of the court ordered 60 month term
of supervised release. In looking at this criteria and assessing the offender, it is this
Probation Officer's opinion that the offender continues to do well under supervision and
remain in compliance with all the conditions of supervision.

As reported last year to the Court in a memorandum addressing early termination, the
instant offense was a large drug conspiracy with numerous co-defendants. One of them
is the offender's brother, Richard Kelly Dozier, whom was sentenced to 235 months with
the Bureau of Prisons on January 15, 1999. His release date from the Bureau of Prisons
is 2014. Further, the Dozier family business, Performance Auto, was searched and this
is where Richard Dozier was taken into custody. Nothing of significance was seized from


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the business. Further, contact with local law enforcement reveals no known criminal
activity regarding the offender or associated with the family business.

The Probation Officer continues to believe the period of supervised release has been of
benefit to the offender and the community. This Probation Officer agrees with the five
year term of supervised release originally ordered. However, since the offender has
completed more then half of the 5 year term without incident and meets the noted criteria,
an early termination is reasonable. Given this, this Probation Officer recommends an early
termination of the offender's supervised release. The ultimate decision lies with the Court.
If the Court has any questions or would like additional information, please contact this
officer at 930-4389.

                                  Respectfully submitted,

                                     /s/Toni M. Ortiz
                                     TONI M. ORTIZ
                             United States Probation Officer

Dated:         July 11, 2008
               Sacramento, California
               TMO/cp


REVIEWED BY:          /s/Kyriacos M. Simonidis
                      KYRIACOS M. SIMONIDIS
                      Supervising United States Probation Officer



cc:      To Be Assigned
         Assistant United States Attorney

         Peter Kmeto
         Defense Counsel




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ORDER OF THE COURT:

Approved    X                             Disapproved

Dated: July 21, 2008



                                 GARLAND E. BURRELL, JR.
                                 United States District Judge




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